Case 22-19361-MBK              Doc 1176       Filed 07/11/23 Entered 07/11/23 00:17:05                        Desc Main
                                            Document      Page 1 of 9


     COLE SCHOTZ P.C.                                          HAYNES AND BOONE, LLP
     Michael D. Sirota, Esq. (NJ Bar No. 014321986)            Richard S. Kanowitz, Esq. (NJ Bar No. 047911992)
     Warren A. Usatine, Esq. (NJ Bar No. 025881995)            Matthew T. Ferris, Esq. (admitted pro hac vice)
     Court Plaza North, 25 Main Street                         30 Rockefeller Plaza, 26th Floor
     Hackensack, New Jersey 07601                              New York, New York 10112
     (201) 489-3000                                            (212) 659-7300
     msirota@coleschotz.com                                    richard.kanowitz@haynesboone.com
     wusatine@coleschotz.com                                   matt.ferris@haynesboone.com
     KIRKLAND & ELLIS LLP                                      Attorneys for Debtors and Debtors in Possession
     KIRKLAND & ELLIS INTERNATIONAL LLP
     Joshua A. Sussberg, P.C. (admitted pro hac vice)
     Christine A. Okike, P.C. (admitted pro hac vice)
     601 Lexington Avenue
     New York, New York 10022
     (212) 446-4800
     jsussberg@kirkland.com
     christine.okike@kirkland.com

                                                                      UNITED STATES BANKRUPTCY COURT
 In re:                                                                    DISTRICT OF NEW JERSEY

 BLOCKFI INC., et al.,                                                          Case No. 22-19361 (MBK)

                             Debtors.1                                             (Jointly Administered)


      DEBTORS’ PARTIAL OPPOSITION TO THE COMMITTEE’S MOTION “TO FILE
      UNREDACTED COPIES OF THE COMMITTEE’S PRELIMINARY REPORT AND
     PLAN STATEMENT AND OBJECTION TO THE MOTION TO SEAL THE REPORT”

            The Official Committee of Unsecured Creditors (“Committee”) asks the Court to publicize

 and broadly disseminate a hit piece its counsel drafted against the Debtors’ management team,

 which the Committee admits is a premature effort to poison a future vote on the proposed Plan.

 While the Debtors welcome transparency in the context of actual formal motion practice, the

 Committee’s smear campaign was clearly unauthorized and improper when it began, and its most

 recent publicity stunt is similarly flawed. The Court should only permit disclosure of appropriate

 information to creditors in the context of an actual substantive motion.


 1
       The Debtors in these chapter 11 cases (the “Debtors”), along with the last four digits of each Debtor’s federal tax
       identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017);
       BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A)); BlockFi
       Investment Products LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location
       of the Debtors’ service address is 100 Horizon Center Blvd., 1st and 2nd Floors, Hamilton, NJ 08691.
Case 22-19361-MBK            Doc 1176       Filed 07/11/23 Entered 07/11/23 00:17:05                       Desc Main
                                          Document      Page 2 of 9



         Thus, in partial opposition to the Motion of the Official Committee of Unsecured Creditors

 to File Unredacted Copies of the Committee’s Preliminary Report and Plan Statement and

 Objection to the Motion to Seal the Report [Docket No. 1136] (the “Motion”), the Debtors state as

 follows:

         1.       On November 28, 2022 (the “Petition Date”), the Debtors filed voluntary petitions

 for relief under the Bankruptcy Code. The Debtors continue to operate their businesses as

 debtors-in-possession pursuant to 11 U.S.C. §§ 1107(a) and 1108.2 On December 21, 2022, the

 Office of the United States Trustee appointed the Committee [Docket No. 130, as amended by

 Docket No. 131].

         2.       Shortly after the Committee’s appointment, three sets of Committee advisors began

 deluging the Debtors with incredibly broad demands for information. And the Debtors and their

 advisors worked hard to provide the Committee with information on an extremely expedited basis.

 To facilitate that process, the Debtors set up an Intralinks datasite where documents (including

 substantial confidential information of the Debtors and third parties) were posted for review by

 Committee professionals, and the Debtors also made separate productions to Committee counsel.

 Separately, BlockFi provided the Committee’s advisors with access to their internal TORCH and

 related accounting systems, so the Committee could, as it had requested, attempt to audit every

 single crypto transaction in the history of BlockFi. The Debtors made this information available

 to Committee advisors voluntarily on the premise that it would not be abused. And the Debtors

 would not have so agreed but for the Committee’s agreement to, and the Court’s entry of, a




 2
     As described in the Debtors’ Reply in Support of their Second Exclusivity Motion, filed contemporaneously
     herewith, certain of the Debtors’ business operations remain ongoing, and the Debtors continue to actively prepare
     to make distributions through the BlockFi platform—which they anticipate being able to complete unless the
     Committee’s obstruction makes that impossible.



                                                          2
Case 22-19361-MBK        Doc 1176     Filed 07/11/23 Entered 07/11/23 00:17:05              Desc Main
                                    Document      Page 3 of 9



 standard, straightforward Protective Order governing the review and use of the information

 produced and protecting the estates from misuse. See Confidential Stipulation and Protective

 Order [Docket No. 498].

        3.      To move the case forward promptly, the Debtors filed a proposed chapter 11 plan

 on the first day of the case [Docket No. 22] providing the possibility of a third party sale or, if

 there was no better alternative, a toggle to a standalone plan. After delays at the request of the

 Committee, bidding procedures were approved on January 30, 2023 [Docket No. 441] and the

 bidding deadline for customer platform assets was set for April 4, 2023 at 12:00 p.m. [Docket

 No. 638]

        4.      After the bid deadline for customer platform assets passed, the Debtors and their

 advisors met with the Committee’s advisors for over five hours on April 10, 2023, to discuss a

 case confirmation schedule and considerations underlying the proposed timeline, including the

 time needed to evaluate whether to proceed with a self-liquidating plan or a transaction in a highly

 challenging regulatory environment, the time needed to solicit parties, and statutory notice periods.

 The Debtors believed they had reached agreement with the Committee on the needed timeline at

 the conclusion of that meeting, but the Committee reneged the next day, so the parties proceeded

 to a hearing on the initial exclusivity motion. The Court entered an order on April 19, 2023,

 extending the Debtors’ filing exclusivity period through May 15, 2023 [Docket No. 755].

        5.      The Debtors attempted to work further with the Committee on an amended plan

 prior to the May 15 deadline, providing the Committee with a draft of a proposed amended plan

 and soliciting comments. But the parties were not able to reach agreement and the May 15 deadline

 was imminent. To meet the deadline, the Debtors filed an amended standalone plan [Docket




                                                  3
Case 22-19361-MBK        Doc 1176     Filed 07/11/23 Entered 07/11/23 00:17:05            Desc Main
                                    Document      Page 4 of 9



 No. 875] (the “Plan”) and disclosure statement [Docket No. 874] (the “Disclosure Statement”) on

 Friday, May 12, 2023.

        6.      The Committee responded to the filing of the amended Plan with a flurry of activity.

 The Committee’s activities included a single motion seeking relief from the Court, which the Court

 addressed and resolved in full. [See Docket Nos. 895, 933]. But the Committee did not stop there.

        7.      The next business day, the Committee filed a “Statement of the Official Committee

 of Unsecured Creditors Respecting the Debtors’ Amended Chapter 11 Plan” [Docket No. 899]

 (the “Statement”). Two days later, at 1:12 AM ET (in the middle of the night prior to a court

 hearing), the Committee filed a document titled “Preliminary Report Addressing Question Posed

 by the Official Committee of Unsecured Creditors: Why Did BlockFi Fail?” [Docket No. 928]

 (the “Report”).

        8.      No one had asked the Committee to draft or file either the Statement or the Report.

 Nor was either filing authorized by the applicable rules. E.g., Federal Rule of Civil Procedure 7,

 Federal Rules of Bankruptcy Procedure 7001-02, 7007, 9013-14; Local Bankruptcy Rule 9013-1.

 Neither document was a “Motion” or a “Response” and neither sought relief from the Court.

        9.      Instead, the Statement and Report were the lynchpin of a highly inflammatory,

 value-destructive smear campaign. Both contain a series of potshots from the Committee directed

 at BlockFi’s management team, ignoring what was actually happening on the ground and citing

 many confidential materials out of context, for one purpose: to inflame the masses and color public

 opinion against the Debtors. Indeed, it appears the Committee does not care about maximizing

 recoveries in these cases; it cares only about attacking BlockFi’s management team. Both




                                                 4
Case 22-19361-MBK             Doc 1176        Filed 07/11/23 Entered 07/11/23 00:17:05                           Desc Main
                                            Document      Page 5 of 9



 documents affirmatively hurt the interests of the estates generally, and the Committee filed them

 to express Committee fury while trying to prematurely influence voting on the just-filed plan.3

         10.       Following the filing of the Statement and Report, the Court directed the parties to

 mediation. When mediation failed, the Committee promptly filed the Motion, asking that the Court

 direct the public docketing of both the Statement and Report in full and that the Committee be free

 to “publish and disseminate” both “by any means and in any forum.”4

         11.       The Committee’s request as filed is without merit. To be clear, however, the

 Debtors welcome transparency by the appropriate submission of appropriate information to

 creditors in connection with an approved disclosure statement, in a way that does not harm creditor

 recoveries or these chapter 11 estates.

         12.       First, there was no legal basis for filing the Statement or the Report on the docket

 in the first place. What are these documents? Neither is a motion or an opposition thereto. Instead,

 the Committee dumped a 90-page hit piece onto the docket along with some of the cited materials.

 That is improper. Federal Rule 7(a) says that “only these pleadings are allowed,” and the Statement

 and Report are pleadings that do not qualify. The rules provide for striking unauthorized filings,5


 3
     Ironically, the Committee has argued strenuously that it is improper to advocate in favor of a plan before the
     Court approves a disclosure statement. Yet it now asks to trash the Debtors (and through them their proposed
     Plan) in publicly filed pleadings before the Court approves the Disclosure Statement. Both cannot be right.
 4
     See Motion, Ex. A ¶¶ 3-4.
 5
     See Mason v. Therics, Inc., 2010 WL 147882, at *2 (D.N.J. Jan. 12, 2010) (striking reply brief filed without leave
     and in violation of local rules); see also Fed. R. Civ. P. 12(f) (“The court may strike from a pleading … any
     redundant, immaterial, impertinent, or scandalous matter.”); United States v. Neal, 2008 WL 11337561, at *2
     (W.D. Ark. Sept. 29, 2008) (striking docket entries “as immaterial, impertinent, and scandalous”); see also Blake
     v. Batmasian, 2017 WL 10059251, at *4 (S.D. Fla. Oct. 5, 2017) (report and recommendation adopted) (“[C]ourts
     are clearly permitted to strike filings other than pleadings. [cites] It is crystal clear that courts have the ability to
     control their dockets and court filings.”); see also Baytops v. Slominski, 2021 WL 2139093, at *7 (E.D. Mich.
     May 26, 2021) (report and recommendation adopted) (denying judicial notice of improperly filed discovery
     materials and warning that future attempts to file the same will be stricken) (“Records may not simply be plowed
     into the Court's docket as freestanding exhibits; they must normally be attached to a pleading, motion or brief, in
     support of the same, and explain how they support it.”)



                                                              5
Case 22-19361-MBK          Doc 1176     Filed 07/11/23 Entered 07/11/23 00:17:05            Desc Main
                                      Document      Page 6 of 9



 but asking for that relief here would only compound the waste the Committee has created. The

 documents should not be re-filed in unsealed form merely because the Committee wants to make

 them public, and they should remain on the docket redacted as-is.

         13.    Second, there is little doubt that some of the documents quoted (largely out of

 context) in the Statement and the Report are subject to protection. Section 105 of the Bankruptcy

 Code generally permits the Court to enter any Order to protect the estates so long as it is not

 inconsistent with the Bankruptcy Code. And section 107(b) of the Bankruptcy Code provides

 bankruptcy courts with the power to issue orders that will protect people and entities from potential

 harm:

                On request of a party in interest, the bankruptcy court shall, and on
                the bankruptcy court’s own motion, the bankruptcy court may—

                   (i)   protect an entity with respect to a trade secret or
                         confidential research, development, or commercial
                         information; or

                  (ii)   protect a person with respect to scandalous or
                         defamatory mater contained in a paper filed in a case
                         under this title.

 11 U.S.C. § 107(b). Bankruptcy Rule 9018 further provides:

                On motion or on its own initiative, with or without notice, the court
                may make any order which justice requires (1) to protect the estate
                or any entity in respect of a trade secret or other confidential
                research, development, or commercial information, (2) to protect
                any entity against scandalous or defamatory matter contained in any
                paper filed in a case under the Code, or (3) to protect governmental
                matters that are made confidential by statute or regulation.

 Fed. R. Bankr. P. 9018.

         12.    Contrary to the statements in the Motion, moreover, the Court does not need “good

 cause” to maintain a seal on these matters. To the contrary, if material sought to be protected falls

 within any one of the enumerated categories (commercial information, defamatory matter, or



                                                  6
Case 22-19361-MBK            Doc 1176        Filed 07/11/23 Entered 07/11/23 00:17:05                         Desc Main
                                           Document      Page 7 of 9



 governmental matters), “the court is required to protect a requesting interested party and has no

 discretion to deny the application.” Video Software Dealers Ass’n v. Orion Pictures Corp.

 (In re Orion Pictures Corp.), 21 F.3d 24, 27 (2d Cir. 1994) (emphasis in original).

         13.       Moreover, “[c]ourts have supervisory power over their records and files and may

 deny access to those records and files to prevent them from being used for an improper purpose.”

 In re Kaiser Aluminum Corp., 327 B.R. 554, 560 (D. Del. 2005). Courts must provide such

 protections “generally where open inspection may be used as a vehicle for improper purposes.”

 Orion Pictures, 21 F.3d at 27. Indeed, the “authority goes not just to the protection of confidential

 documents, but to other confidentiality restrictions that are warranted in the interests of justice.”

 In re Glob. Crossing Ltd., 295 B.R. 720, 724 (Bankr. S.D.N.Y. 2003).

         14.       There is no question that the Statement and Report both contain: (1) confidential

 information of the debtors and third parties and (2) highly defamatory assertions that will be used

 affirmatively by the Debtors’ adversaries.6 Indeed, the Committee admits that is why it is trying

 to make them public—to poison BlockFi’s well. Under the applicable law, however, that is the

 very reason to protect the documents and these chapter 11 estates.

         15.       All that said, as stated above, the Debtors welcome transparency in the context of

 an objection to a motion that creates an actual contested matter specifically requiring the disclosure

 of relevant information, so long as that disclosure does not harm the estates. Thus, the Debtors

 have no objection to the transmission of an appropriate amount of information to creditors about

 the Committee’s position on the Plan in connection with the approval of the Disclosure Statement;




 6
     In fact, reviewing the time entries that are publicly available for certain of the Debtors’ adversaries, we know that
     they are reviewing the Committee’s filings with interests and preparing to use them in an effort to harm BlockFi
     and its creditors’ interests. It is shocking that any estate fiduciary would intentionally harm creditor recoveries
     in this way.



                                                            7
Case 22-19361-MBK           Doc 1176       Filed 07/11/23 Entered 07/11/23 00:17:05                     Desc Main
                                         Document      Page 8 of 9



 that is what the parties will presumably discuss at the Disclosure Statement hearing on August 16.7

 Moreover, based on its positioning to date, the Debtors anticipate litigation with the Committee

 concerning the 9019 Settlement Motion.8 In that context, the Debtors will provide the Committee

 a proposed redacted version of the Report and Statement that the Committee can utilize in its

 anticipated Objection to the 9019 Settlement Motion. But there is no legal basis for the Committee

 to simply dump a 90-page slanderous smear campaign laden with the confidential information of

 the Debtors and third parties (along with selected discovery materials) on the docket, merely

 because the Committee believes ad hominem attacks on the Debtors management team will

 advance its litigation strategy.



                                [Remainder of page intentionally left blank]




 7
     Notably, no BlockFi client objected to the Disclosure Statement, and the deadline for doing so has passed, so
     there is no reason to provide additional information except in connection with the approval of a Disclosure
     Statement.

 8
     Debtors’ Motion for Entry of an Order (I) Authorizing and Approving the Settlement and Release of Claims and
     Causes of Action By and Among the Debtors and Certain of the Debtors’ Insiders and (II) Granting Related Relief
     [Docket No. 1173].



                                                         8
Case 22-19361-MBK        Doc 1176     Filed 07/11/23 Entered 07/11/23 00:17:05                Desc Main
                                    Document      Page 9 of 9



         WHEREFORE, the Debtors object in part to the Motion and ask that it be denied outright

 or, in the alternative, limited to the provision of appropriately-redacted content on the docket in

 connection with an actual Adversary Proceeding or Contested Matter.


                                                      Respectfully Submitted,

 Dated: July 10, 2023                                 /s/ Michael D. Sirota
                                                      COLE SCHOTZ P.C.
                                                      Michael D. Sirota, Esq. (NJ Bar No. 014321986)
                                                      Warren A. Usatine, Esq. (NJ Bar No. 025881995)
                                                      Court Plaza North, 25 Main Street
                                                      Hackensack, New Jersey 07601
                                                      (201) 489-3000
                                                      msirota@coleschotz.com
                                                      wusatine@coleschotz.com

                                                      KIRKLAND & ELLIS LLP
                                                      KIRKLAND & ELLIS INTERNATIONAL LLP
                                                      Joshua A. Sussberg, P.C. (admitted pro hac vice)
                                                      Christine A. Okike, P.C. (admitted pro hac vice)
                                                      601 Lexington Avenue
                                                      New York, New York 10022
                                                      (212) 446-4800
                                                      jsussberg@kirkland.com
                                                      christine.okike@kirkland.com

                                                      HAYNES AND BOONE, LLP
                                                      Richard S. Kanowitz, Esq. (NJ Bar No. 047911992)
                                                      Matthew T. Ferris, Esq. (admitted pro hac vice)
                                                      30 Rockefeller Plaza, 26th Floor
                                                      New York, New York 10112
                                                      (212) 659-7300
                                                      richard.kanowitz@haynesboone.com
                                                      matt.ferris@haynesboone.com

                                                      Attorneys for Debtors and Debtors in Possession




                                                 9
